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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


      COOK MEDICAL, INC., IVC FILTERS                     )
      MARKETING, SALES PRACTICES AND                      )
      PRODUCT LIABILITY LITIGATION MDL                    )
      2570,                                               )
      ______________________________________              )       No. 1:14-ml-02570-RLY-TAB
                                                          )
      THIS DOCUMENT RELATES TO ALL                        )
      ACTIONS

            ORDER ON APRIL 29, 2016, TELEPHONIC STATUS CONFERENCE
         Parties appeared by counsel April 29, 2016, for a telephonic status conference. By

  agreement, the Court issued the following orders:

     1) The deadline for the parties to exchange lists of their ten selected cases is enlarged to

         May 6, 2016.

     2) The deadline for the parties to file a status report with a list of fourteen total cases, seven

         for each side that will serve as the new discovery pool, is enlarged to May 20, 2016.

         Dated: 5/3/2016




  Distribution to all ECF-registered counsel of record via email. Distribution to all remaining
  counsel of record to be made by Plaintiffs’ Lead Counsel.
